 Case 12-40844           Doc 32    Filed 03/29/13 Entered 03/29/13 17:16:53                                Desc Main
                                     Document     Page 1 of 5


                             UNITED STATES BANKRUPTCY    COURT
                                 MIDDLE DISTRICT OF GEORGIA

IN RE: BOX, JONATHAN           D. (L4SSN: 7410)                    Case No. 12-40844
             Debtor.                                               Chapter 13
       Vs.

        W. C. MORRISON/DBA         M&W AUTO SALES
        Creditor/Lienholder

                                  MOTION      TO SURRENDER         TITLE

        1. The Debtor filed a Chapter 13 on September 7, 2012. The Debtor is currently under the
September 27,2012, Chapter 13 Plan.
        2. On or about February 2,2010, the Debtor purchased a 2008 Dodge Caliber, VIN
#lB3HB48B18D724148        from Mr. W. C. Morrison (apparently dba M&W Auto Sales, Inc.).
        3. On February 2,2010, the State of Florida issued a Certificate of Title showing the owner as
Jonathan David Box and showing the first lienholder as W. C. Morrison (copy attached). As best as can
be determined Mr. Morrison deposited his own money into Panhandle Educators Federal Credit Union in
account # XXXX12-3 in the name of the debtor/Jonathan David Box; Mr. Morrison then had the debtor
go to Panhandle Educators Federal Credit Union to sign a note secured by the monies placed on deposit
there by Mr. Morrison.   Panhandle Educators Federal Credit Union then wrote a check to W. C. Morrison
in the amount of $14,608.00 (copy attached) on February 2, 2010. Therefore, the security for the loan
signed by the debtor Jonathan Box was not the 2008 Dodge Caliber but rather the money deposited there
by W. C. Morrison (dba M&W Auto Sales).
        4. On February l3, 20l3, the Chapter 13 Trustee's office filed an Objection to Claim of
Panhandle Educators Federal Credit Union on the grounds that, (coitrary to the allegations in the Chapter
13 Plan) the security interest held by Panhandle was not the vehicle but was rather the funds in account
#XXXX12-3.
        5. On or about February 27, 2013, Panhandle Educators Federal Credit Union filed a Response
to the Trustee's Objection to their claim, alleging that the collateral was the funds in the account and not
the vehicle. The hearing has been scheduled for April 30, 2013, at 2:00 p.m. at the Bankruptcy Court in
Columbus on Panhandle's    Objection to Trustee's Objection to Claim.
        6. DEBTOR PRAYS that this Court enter an Order that the claim of Panhandle is not secured by
property of the debtor; that Panhandle be allowed to seize the funds fin the account; that W. C.


                                                                         Z:\BNK-PLANS++\MOTION\Box,Jonathan.Mot2SurrTitie.wpd
 Case 12-40844          Doc 32      Filed 03/29/13 Entered 03/29/13 17:16:53                             Desc Main
                                      Document     Page 2 of 5


be required to remove its lien off the Certificate of Title based on the fact that there are no loan
documents supporting W. C. Morrison/dba M&W Auto Sales position as lienholder; that the Certificate
of Title be surrendered to the debtor/Jonathan Box.



Date: --~~~--~--~~--------
                                                              SR.   HUNT, ATTY FOR DEBTOR


 DOCUMENT PREP. BY: CHARLES R. "CHAD" HUNT" STATE BAR GA. 0378493·:·112 EAST LEE STREET.,
              DAWSON, GEORGIA 39842'3' Fax Available on Request PH.(229)995-4868
                                     E-mail: chuntadmin@windstream.net


                                             END OF DOCUMENT




                                                                          Z:\BNK-PLANS++\MOTION\Box,Jonathan.Mot2SurrTitie.   wpd
   Case 12-40844            Doc 32        Filed 03/29/13 Entered 03/29/13 17:16:53                                       Desc Main
                                            Document     Page 3 of 5


                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF GEORGIA

IN RE: BOX, JONATHAN                  D. (L4SSN: 7410)                         Case No. 12-40844
             Debtor.                                                           Chapter 13
      Vs.

          W. C. MORRISON/DBA               M&W AUTO SALES
         Creditor / Lienholder

                              NOTICE OF MOTION TO SURRENDER                                 TITLE

      1. THE DEBTOR HAS FILED PAPERS WITH THE UNITED STATES BANKRUPTCY
COURT, P.O. BOX 2147, COLUMBUS, GA 31902, Ph. 706-649-7837 AS INDICATED ABOVE.

      2. YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTOR~EY,    IF YOU HAVE ONE N
THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH
TO CONSULT ONE.)

       3. IF YOU DO NOT WANT THE DEBTOR TO TAKE 1HIS ACTION, OR IF YOU WANT
THE COURT TO CONSIDER YOUR VIEWS ON THE MOTION, THEN YOU AND/OR YOUR
ATTORNEY MUST ATTEN~         HEARING SCHEDULED to BE HELD ON                                                        £\'\1\1\3D                ,
20 \~ , AT     /lDD A.M~rN    COURTROOM, UNITED STATES BANKRUPTCY COURT,           I


LOCATED AT ONE FRON        ENUE, ONE ARSENAL PLAfE, COLUMBUS, GA 31902.

      4. IF YOU AND YOUR ATTORNEY DO NOT TAKE T1HIS STEP, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE ACTION SOUGHT IN THE MOTION AND MAY
ENTER AN ORDER GRANTING THAT MOTION.

BNK-SINGLE CREDITOR CERTIFICATE OF SERVICE: This is to certify that I have this day served the
lienholder / creditor W. C. Morrison! dba M&W Auto Sales at 4915 State Road 22, Panama City, FL 32404, creditor Panhandle
Educators Federal Credit Union at 2718 MLK Jr. Boulevard, Panama City, FL 32405-4~08, the debtor Jonathan D. Box at 7121 Vining
Court, Columbus, GA 31907, the standin& Trustee, Chapter 13 trustee. P.G. Box 1907. Columbus. GA. 31902, and U.S. Trustee, 440
Martin Luther King Jr. Blvd., Suite 302, Macon GA 31201-0000, with a copy of the forJgoing matters by depositing in the United
States Mail a copy of same in a properly addressed envelope with adequate postage thereon, or by hand-delivery.

                         \11                                                /v7y
Date:    ~.    CX\ ' u                                                    U??t?1dPC-
                                                                                   I
                                                                     Charles R. 'Hunt, Attorney


  DOCUMENT PREP. BY: CHARLES R. "CHAD" HUNT                      + STATE BAR GA. 0378493·:·112                 EAST LEE STREET +
                       DAWSON,      GEORGIA     39842'l!' Fax Available   on Request   PH.(229)995-4868
                                           E-mail: chuntadmin@windstream.net

                                                     END OF DOCUMENT




                                                                                       Z:\BNK-PLANS++\MOTION\Box,Jonathan.Mot2SurrTitle.wpd
               Case 12-40844          Doc 32       Filed 03/29/13 Entered 03/29/13 17:16:53                            Desc Main
                                                     Document     Page 4 of 5


                                                              ~d;~~;!~;';mtrC~'1!t~·
                                                              MEMBER   NUMBER
                                                                                ~
                                                                                    2703      :t"
                                                              MEMBER   NAME   J 0 na t

                                                              MEMBER   SIGNATURE    __   ~_

---------.-:------------.:;..:..::..--'---'---'---.:....~--'-~~~.:..:=~=--.:.=~--'--~
                        THIS DO(T.\fE~T HAS A TRUE \\'ATERAtAKK I~ THE PAPER: ABSENCE




                   PANHANDLE EDUCATORS                                                                                                         201848
       . - -I -I   FEDERAL CREDIT UNION                                                                      63-8152


                   PANAl'vL>\.CITY, FLORIDA 32405-4408 -
                   2~32                    t7 if _/ '{/
                                                          I
                   2718 MLK JR. BLVD .• PHO.NE 850·769·3306
                                                            /17
                                                                                                               2632

                                                                                                            Date                     Amount
       •                                                                                                 02/02/2010              $14,608.00

           FOURTEEN THOUSAND SIX HUNDRED EIGHT AND 00/100 DOLLARS---------------------------------


  TO       W. C. MORRISON                                                                                      VOID    AFTER   120 DAYS          6:J ~~;;::~_
 THE
ORDER
 OF
           REF: JONATHAN DAVID BOX
                                                                                                        ~~                                        .-,~",'A




                                                                                                    V           AORiZEDSIGNATURE--m



                                                                                                                                     -------                 ~




                                                                                                                                                                 I
                                                                           Case 12-40844                                                                     Doc 32                                   Filed 03/29/13 Entered 03/29/13 17:16:53                                                                                                                               Desc Main
                                                                                                                                                                                                        Document     Page 5 of 5
      -, "'l~~r~~~j1.                          .>. \',                           -                                                                                                                                                                                                                                                               Li~~R~I~a~e·~;;';·,



~~~~,~~:~r
      .~ .Prf·0,~.~r4t;~~~:~~j~~~:IT==r~~~·.~~u;bifb
~:                    "I                                                                                                                                                                                                                                                            .• ;   ·~llrite~~tii\the                                                  de~~rib#d;,e~%I~}~h~r?tte                                                                     ~~~e


                                           ,.::,.:.;.:.'> ...
                                                           ,.....                                                                                                                                                                                                                                                    :71S~U~:~t;:.J:e                       •..•....;                                                                                   ;.,./:«.


·~~.~,.~.·
.....•_,..~:_\
       ..,..:.~._.: c.~~_~_;
                      ...~.;.~.::..
             .•.•".:,:::
               ...;i...__      ;:];:                          LO.·~p~f~r                   St:ilf~-~tir. V~:sse{Mantkacit~te{br:~OH ~:~k;~~!
                                                                                                                                          ":;"h-",::'",: ::-:---'"-,",--:,,                                                                                                                                                                     ;;te                 ......)                            y; ........\                                             .:.
:~:~::.                                                 '49~~O~;LES'                                                                         02jq1J2010'ACTii~L>                                                                                                                                                                                                                                                                                   -;
                                                ;Reii,~ter~<iOwner.                                     .. ..' ....'                                                                                                                                                                                                                                                                                                                                    .:.:

II '..                                               '~~~T~~AN~:~~g
                                                              PANAMA CITY                                          FL.32405
                                                                                                                           :~~                      Ii 1426




                                                                                                                                    02/01/2010
~.i
~~i
                                                              WC MORRISON
                                                              4915 S R 22
                                                              PANAMA CITY                                         FL 32404
E~l~                                                      .                                    .


;11                                                   DIViSION OF MOTORVB-lICLES                                                                                                       TALLAHASSEE                                                                            FLORIDA                                  DEPARTMENT OF HIGHWAYSAFETY AND MOTORVB-ltCLES



~U ---B~~---·-..
 »8~
 ;.:...::=
                                                                                                                                                                                                       ....0 9 7205882.                                                                                                D.,I.,O~.L"'--'--
                                                              .                                                                                                                Control Number                                                                                                                           ~
 :~g
  I:",,;:
                                                     cart     Ford
                                                      Oirtictor
                                                               A.                                                                                                                                                                                                                                                      Julie L Jones
                                                                                                                                                                                                                                                                                                                       ExecutiveD.irector
 t~~~~
                                                     --"-'------:---,--.C'.,-. ~                                                                                               .'TRANSFER                            OF TITLE. BY SELLER (This section must be.completed                                               at the time of sale.)
                                                                                                                      Federal ~dlor                          stale law require that Uie seller starethe milege, purchaser's name, s;Jling price and date sold in counccticn with the transfer of ownership,
                                                                                                                                                                     .      ., FwlUrc io ~ofnplcte-orproviding a false statement rrey.result in fines aDd/~r imprisonment,
                                                                                                                     !his            ti~~ i~warranted't~                       be     ~e ..   cro~ any                        liens except       as n.ot~d   00   the face of the c~ifi~e              and    themotor vehicle or vessel described is hereby transferred                                      tor .

                                   ....
                                     :.:'~.'.::SellerMus!Enter Purchaser's Name:                                                                                                                                                                                                                             Addt-ess:_----,,_-'---c---'~------'--____,c___-_:_~-'---'

                                                  .. s~lier·Musf Enter Selling Price:                                                                                                                                                                                                                        Sellci"Musl     Enter Dalc S~ld:                                                                                                                     ..
                                                .. •'::~I\~~'I~            thai   tiu~ 0 s orO                   6 di!'il odometer new read"LI                                         U L.J.I_i                                ULI.LxJ               (00    teuths}miles, drilcrcad_. ~                             . ';'d I hereby certifyIh•• 10.Ihe b~                   of my       kacwledge th••odomol":readin.g::
                                                                       .                                     .0        L     rcnecL~ACTlJJ'J. MlLEAC;<:"                                                      .                    0   2: is IN       E;XCESS(W ITSMECHANiCAL LIMnS.'                                   '.      03. is NOTTHE ACll.lALlIAIli-:AG~~·                                                                                            . .
                                                         .•••.             '. UNDER PENAlTtESOF                                       P~JURY.                       I Di;¢LARETHAT:'                                  !'lAVE READ THE FOREGqINGDOC;UMEt>lT AND:THATTHE FACTS STArED'Nri~ETRUE.

                                              :\.';.:.::~:~'~'::.'                                                                                                 :~::~.·r· ;:~<': .' . :/;i(~S!~r;RM-,,,,,:...I_7---':-~--':-:""'-_~'--C-:--+----'-'-:-'--_-=---+_--'-:=+'-7----=---'c-'"'::>7-;--
  __.,·PAnIH;;-                                                                                                                                               ·.~;:~,Pri~IHJ;"';;/~.:,.~.                                                                                    __  ,,:<iL;;
 ~.:'•...;:_.t.~            •........   \;.         ~cii,nid~"f;,...~i:i~~,;~eNuillb.;~.l;ax                                                                                                                                                 ~o;~/:. ':;                                                     ····1              . :~~«i
                                                                                                                                                                                                                                                                                                                                     Coit eeted:                                                                     \       .....;          ..;
 ': e
  Ij'-                      ;....
                                                      ~~ .:::'..:.;'
                                                                 •
                                                                            :\·".A.i1.c.-·j.~o~:..~.   ",.~e;..:::....:: .                                        . ::'.....;:.::::':f"
                                                                                                                                                                        .
                                                                                                                                                                                              :;::/.::~;':""-'-:::':;:
                                                                                                                                                                                                          -   •
                                                                                                                                                                                                                                                            .:.....c ·rikns~~Jrtitjc'rr'
                                                                                                                                                                                                                                                                    '. .•••         • •
                                                                                                                                                                                                                                                                                                                                      . ':.:.;:::~
                                                                                                                                                                                                                                                                                                                                                 ...'              : ..:.:. ::
                                                                                                                                                                                                                                                                                                                                                                         .               ..
                                                                                                                                                                                                                                                                                                                                                                                                                : :.'';:... ;.'
                                                                                                                                                                                                                                                                                                                                                                                                                '.       ::•....-::   :~<:~• •.......•......•.
                                                                                                                                                                                                                                                                                                                                                                                                                                                         ....;.....:.:
 ~                           :..;'               ·r··. /'"                                                                         ..•. " •..,•..--:-:....             ,,"""                     .....:.::.>...,          •.'.-"       .....'......     ,...... .......•••. ,'.' •."-'....                                                        .' .......••... ,...           .•.,"        .•...., •.. ::....•::,•.• ,.
 r, \:\.~
           i.\.9..''.··.:·./:'/
                                                 'i j>uii-.CHA:SERMu-;(:·
                                                    s'                                                                     :.'!;      •.•••...•
                                                                                                                                                  j ::
                                                                                                                                                         : '.'.
                                                                                                                                                     •.......
                                                                                                                                                        -:,.:.: :.,.....
                                                                                                                                                                   •
                                                                                                                                                                                 .:       ,              ).       '.;......
                                                                                                                                                                                                                              . ...•.
                                                                                                                                                                                                                                   ':"-s:,
                                                                                                                                                                                                                                                '..                                         >...
                                                                                                                                                                                                                                                        i:;o·,'p~I\,C:fu\SER).i~;·.;..:•.•......                                                        .":,.'.,                 \.:.'          .•....                                  . .~..•,. ,.'..
   !.:.:
                                                 .:"I~' ..~~,.
                                                              H·····       .r-        ..
                                                                                                                           .. '
                                                                                                                                      '.;
                                                                                                                                                     ' '.'                                                    ":                   .:<:;::;:-.          S' "fj ".
                                                                                                                                                                                                                                                          j~.~re:"...
                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                         . ••..
                                                                                                                                                                                                                                                                                                                                                                                                                            ;:.'/
                                                                                                                                                                                                                                                                                                                                                                                                                             . ..,"

                                                  ·rifrrf:::···· '.,
  ,




                                                                                                       \:~PT~~::~~:~f~yli~,~~~IR~~~t¥,~:~~td9~~1~~:!~;!~;~~~~,:~r,~~.~·~p;y~·~~                                                                                                                                                      .•~A.~     b~A~~~~~~~:····:·····:····:
                                                                                                                                                                                                                                                                                                                                                            ;.'"., .
